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    1    Marc M. Seltzer (54534)                   Howard Langer (Pro Hac Vice)
         mseltzer@susmangodfrey.com                hlanger@langergrogan.com
    2    SUSMAN GODFREY L.L.P.                     LANGER GROGAN AND DIVER PC
         1900 Avenue of the Stars, Suite 1400      1717 Arch Street, Suite 4020
    3    Los Angeles, CA 90067-6029                Philadelphia, PA 19103
         Phone: (310) 789-3100                     Tel: (215) 320-5660
    4    Fax: (310) 789-3150                       Fax: (215) 320-5703
    5    Scott Martin (Pro Hac Vice)
         smartin@hausfeld.com
    6    HAUSFELD LLP
         33 Whitehall Street, 14th Floor
    7    New York, NY 10004
         Tel: (646) 357-1100
    8    Fax: (212) 202-4322
    9
         [Additional Counsel on Signature Page]
   10
         Plaintiffs’ Co-Lead Counsel
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   12
                             UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                  PLAINTIFFS’ MOTION FOR
   17   THIS DOCUMENT RELATES TO                  RECONSIDERATION
        ALL ACTIONS                               REGARDING REBUTTAL CASE
   18
                                                  JUDGE: Hon. Philip S. Gutierrez
   19                                             COURTROOM:
                                                   First Street Courthouse
   20                                              350 West 1st Street
                                                   Courtroom 6A
   21                                              Los Angeles, CA 90012
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    1         Plaintiffs respectfully request the Court reconsider its order granting the
    2   Defendants’ motion to preclude Plaintiffs from offering testimony in rebuttal.
    3   Defendants filed their motion during the court day Tuesday, and at the end of the
    4   Court’s proceedings on Tuesday, June 18, the Court did ask if Plaintiffs were going
    5   to argue the issue before the Court or if they wanted to file something. See Trial Tr.
    6   1832:12-15. Plaintiffs did indicate they would submit something to the Court.
    7   Plaintiffs profusely apologize about their lack of understanding that such a filing
    8   should have been on file by a 5:00 p.m. deadline. See generally Trial Tr. 1832:12-
    9   1834:3. Plaintiffs understood the offer of proof and further discussion would be taken
   10   the morning of Thursday, June 20. Id. at 1833:2-4.
   11         Plaintiffs indicated that the issue may not be ripe until such time as
   12   Defendants’ expert Dr. Bernheim had completed his testimony on the morning of
   13   June 20 as he had only completed a portion of his testimony on Tuesday, largely to
   14   complete the qualification of Dr. Bernheim as an expert. Id. at 1833:17-19. At the
   15   Court’s request, Plaintiffs have been preparing an offer of proof and were in the
   16   process of preparing a filing in opposition to Defendants’ motion when it received
   17   the Court’s notice. A copy of Plaintiffs’ intended response is attached hereto as
   18   Exhibit 1. Plaintiffs seek to call only Professor Einer Elhauge as a rebuttal witness
   19   to be presented on direct examination by counsel Marc Seltzer and a commercial
   20   class member who is not a rebuttal witness but could not be presented in Plaintiffs
   21   case in chief due to a personal issue.
   22         Plaintiffs provided notice to Defendants of their proposed rebuttal witnesses
   23   on the evening of June 18 as they had so advised the Court. Plaintiffs told Defendants
   24   they were going to drop two of the witnesses that they previously indicated an intent
   25   to call and also expected the taking of evidence could be concluded Thursday. As
   26   explained in the attached memorandum in opposition, if accepted by the Court,
   27   Plaintiffs have now dropped class representative Jason Baker and from calling in
   28   rebuttal experts Len DeLuca and Dan Rascher.
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    1         Plaintiffs again sincerely apologize for any confusion about the submission of
    2   its opposition and will be prepared with an offer of proof regarding Mr. Elhauge’s
    3   testimony on June 20 if the Court so permits.
    4

    5   Dated: June 19, 2024                  Respectfully submitted,
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    7                                         By: /s/ Marc M. Seltzer

    8                                         Marc M. Seltzer (54534)
                                              mseltzer@susmangodfrey.com
    9                                         Kalpana Srinivasan (237460)
                                              ksrinivasan@susmangodfrey.com
   10                                         Amanda Bonn (270891)
                                              abonn@susmangodfrey.com
   11                                         SUSMAN GODFREY L.L.P.
                                              1900 Avenue of the Stars, Suite 1400
   12                                         Los Angeles, CA 90067
                                              Tel: (310) 789-3100
   13                                         Fax: (310) 789-3150

   14                                         William C. Carmody (Pro Hac Vice)
                                              bcarmody@susmangodfrey.com
   15                                         Seth Ard (Pro Hac Vice)
                                              sard@susmangodfrey.com
   16                                         Tyler Finn (Pro Hac Vice)
                                              tfinn@susmangodfrey.com
   17                                         SUSMAN GODFREY L.L.P
                                              One Manhattan West
   18                                         New York, NY 10001
                                              Tel: (212) 336-8330
   19                                         Fax: (212) 336-8340

   20                                         Ian M. Gore (Pro Hac Vice)
                                              igore@susmangodfrey.com
   21                                         SUSMAN GODFREY L.L.P.
                                              401 Union Street, Suite 3000
   22                                         Seattle, WA 98101
                                              Tel: (206) 505-3841
   23                                         Fax: (206) 516-3883

   24                                         Scott Martin (Pro Hac Vice)
                                              smartin@hausfeld.com
   25                                         HAUSFELD LLP
                                              33 Whitehall Street, 14th Floor
   26                                         New York, NY 10004
                                              Tel: (646) 357-1100
   27                                         Fax: (212) 202-4322

   28                                         Christopher L. Lebsock (184546)
                                              clebsock@hausfeld.com
                                                 2
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                                           Samuel Maida (333835)
    1                                      smaida@hausfeld.com
                                           HAUSFELD LLP
    2                                      600 Montgomery St., Suite 3200
                                           San Francisco, CA 94111
    3                                      Tel: (415) 633-1908
                                           Fax: (415) 633-4980
    4
                                           Sathya S. Gosselin (269171)
    5                                      sgosselin@hausfeld.com
                                           Farhad Mirzadeh (Pro Hac Vice)
    6                                      fmirzadeh@hausfeld.com
                                           HAUSFELD LLP
    7                                      888 16th Street, N.W., Suite 300
                                           Washington, DC 20006
    8                                      Tel: (202) 540-7200
                                           Fax: (202) 540-7201
    9
                                           Howard Langer (Pro Hac Vice)
   10                                      hlanger@langergrogan.com
   11
                                           Edward Diver (Pro Hac Vice)
                                           ndiver@langergrogan.com
   12                                      Peter Leckman (235721)
                                           pleckman@langergrogan.com
   13                                      Kevin Trainer (Pro Hac Vice)
                                           ktrainer@langergrogan.com
   14                                      LANGER GROGAN AND DIVER PC
                                           1717 Arch Street, Suite 4020
   15                                      Philadelphia, PA 19103
                                           Tel: (215) 320-5660
   16                                      Fax: (215) 320-5703

   17                                      Plaintiffs’ Co-Lead Counsel
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